   Case 2:21-mc-00002-JRG Document 1 Filed 12/21/20 Page 1 of 2 PageID #: 1



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                        UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                               SOUTHERN DIVISION
___________________________________
                                    ) Case No. 8:20-mc-127
HMD GLOBAL OY,                      )
                                    ) NOTICE OF MOTION AND MOTION
   Movant,                          ) TO COMPEL PRODUCTION
                                    ) PRODUCTION OF DOCUMENTS
v.                                  ) FROM ACACIA RESEARCH
                                    ) CORPORATION
ACACIA RESEARCH CORPORATION )
                                    ) Judge: [TBD]
   Respondent.                      ) Date: [TBD]
                                    ) Time: [TBD]
                                    ) Place: [TBD]
                                    ) Discovery Cutoff: March 18, 2021
                                    ) Pretrial Conference: June 29, 2021
___________________________________ ) Trial Date: August 2, 2021

TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
      PLEASE TAKE NOTICE that at a date, time, and courtroom to be determined by
the Court, HMD Global Oy (“HMD Global”), defendant in Cellular Communications
Equipment LLC v. HMD Global Oy, Case No. 20-78 (E.D. Texas), will and hereby does
move this Court to compel Acacia Research Corporation to comply with HMD Global’s
subpoena in that action of September 25, 2020.



        NOTICE OF MOTION AND MOTION TO COMPEL PRODUCTION FROM ACACIA RESEARCH CORPORATION
   Case 2:21-mc-00002-JRG Document 1 Filed 12/21/20 Page 2 of 2 PageID #: 2



      This Motion is based on this Notice of Motion and Motion, the concurrently filed
memorandum of law, the Declaration of Maissa Chouraki, and accompanying exhibits, as
well as the pleadings and papers on file in this matter and in Cellular Communications
Equipment LLC v. HMD Global Oy, Case No. 20-78 (E.D. Texas), any matters of which
the Court may take judicial notice, and evidence or argument that HMD Global may
present at or before the hearing on this matter.
      As HMD Global explains in more detail in its brief, despite repeated efforts to
resolve their differences through meeting and conferring in good faith, HMD Global and
Acacia Research Corporation were unable to resolve the differences between them,
requiring this motion.


Date: December 21, 2020                          Respectfully submitted,

                                                 /s/ Matthew S. Warren
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